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From: Jennifer@SnapFitnessCEFSettlement.com
Subject: Snap Fitness CEF Proposed Class Action

                  NOTICE OF PROPOSED CLASS ACTION SETTLEMENT
                   Dwyer v. Snap Fitness, Inc., (Case Number 1:17-CV-00455)
                 (United States District Court for the Southern District of Ohio)

Claim ID: XXXXXX

Dear [NAME],

This notice is to inform you of the settlement of a class action lawsuit with Snap Fitness, Inc. (“Snap
Fitness”). Thomas Dwyer filed this lawsuit against Snap Fitness, alleging that Snap Fitness violated
the law by charging members a Club Enhancement Fee (“CEF”) in health clubs across the country
and by entering into member agreements in Ohio that didn’t comply with Ohio’s Prepaid
Entertainment Contract Act (“PECA”). Snap Fitness denies that it violated the law. The parties have
agreed to a settlement.

Why did you receive this email?
You received this email because Snap Fitness’s records identified you as a potential member of one
or both of the following classes: (1) All persons who have paid a CEF under a Snap Fitness
membership agreement that did not mention payment of the CEF (“CEF Sub-Class”); and (2) All
persons who have been a party to a pre-November 2017 Snap Fitness prepaid membership agreement
in the state of Ohio and who either (i) canceled their membership between May 25, 2015, and the
present (“Class Period”) while operating under that agreement, or (ii) remain current Snap Fitness
members under that agreement (“PECA Sub-Class”).

What does the settlement provide?
Snap Fitness will establish a settlement fund of $2,920,000.00 and will separately pay notice and
administration costs, an award of attorneys’ fees, and an incentive award to Mr. Dwyer. Anyone in
the PECA Sub-Class is entitled to receive $5. Anyone in the CEF Sub-Class is entitled to receive
approximately 65% of the total amount he or she paid in CEFs. A class member may be eligible to
recover under both the PECA Sub-Class and the CEF Sub-Class. It is estimated that each valid
claimant will receive between approximately $0.01 and $50.

What are your legal rights and options?
You have three options. First, you may do nothing, in which case you will receive a payment from
the settlement fund and will release any claim(s) you have against Snap Fitness related to the claims
and conduct alleged in this case. Second, you may exclude yourself from the settlement, in which
case you will neither receive a share of the settlement fund nor release any claim(s) you have against
Snap Fitness. Or third, you may object to the settlement. To obtain additional information about your
legal rights and options, please visit www.SnapFitnessCEFSettlement.com, or contact the settlement
administrator by writing to: Snap Fitness CEF Settlement, c/o JND Legal Administration, P.O. Box
91246, Seattle, WA 98111 or by calling 1-833-291-1645.

When is the final fairness hearing?
The Court will hold a final fairness hearing on [DATE], 2019, at [time]. The hearing will take place
in the Potter Stewart U.S. Courthouse, 100 East Fifth Street, Cincinnati, Ohio 45202. At the final
fairness hearing, the Court will consider whether the settlement is fair, reasonable, and adequate and,
if so, whether it should be granted final approval. The Court will hear objections to the settlement, if
any. The Court may make a decision at that time, postpone a decision, or continue the hearing.

If you have questions, you may call the Claims Administrator toll-free at 1-833-291-1645.



                                                                                          EXHIBIT A-1
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What is this lawsuit about? Thomas Dwyer filed this lawsuit against Snap Fitness, Inc. (“Snap Fitness”), alleging
that Snap Fitness violated the law by charging members a Club Enhancement Fee (“CEF”) in health clubs across the
country and by entering into member agreements in Ohio that didn’t comply with Ohio’s Prepaid Entertainment
Contract Act (“PECA”). Snap Fitness denies that it violated the law. The parties have agreed to a settlement.
Why did you receive this notice? You received this notice because Snap Fitness’s records identified you as a
potential member of one or both of the following classes: (1) All persons who have paid a CEF under a Snap Fitness
membership agreement that did not mention payment of the CEF (“CEF Sub-Class”); and (2) All persons who have
been a party to a pre-November 2017 Snap Fitness prepaid membership agreement in the state of Ohio and who
either (i) canceled their membership between May 25, 2015, and the present (“Class Period”) while operating under
that agreement, or (ii) remain current Snap Fitness members under that agreement (“PECA Sub-Class”).
What does the settlement provide? Snap Fitness will establish a settlement fund of $2,920,000.00 and will
separately pay notice and administration costs, an award of attorneys’ fees, and an incentive award to Mr. Dwyer.
Anyone in the PECA Sub-Class is entitled to receive $5. Anyone in the CEF Sub-Class is entitled to receive
approximately 65% of the total amount he or she paid in CEFs. A class member may be eligible to recover under
both the PECA Sub-Class and the CEF Sub-Class. It is estimated that each valid claimant will receive between
                                                                                                                            Front Inside
approximately $0.01 and $50.
What are your legal rights and options? You have three options. First, you may do nothing, in which case you
will receive a payment from the settlement fund and will release any claim(s) you have against Snap Fitness related
to the claims and conduct alleged in this case. Second, you may exclude yourself from the settlement, in which case
you will neither receive a share of the settlement fund nor release any claim(s) you have against Snap Fitness. Or
third, you may object to the settlement. To obtain additional information about your legal rights and options, please
visit www.SnapFitnessCEFSettlement.com, or contact the settlement administrator by writing to: Snap Fitness CEF
Settlement, c/o JND Legal Administration, P.O. Box 91246, Seattle, WA 98111 or by calling 1-833-291-1645.
When is the final fairness hearing? The Court will hold a final fairness hearing on _________, 2019, at _____.
The hearing will take place in the Potter Stewart U.S. Courthouse, 100 East Fifth Street, Cincinnati, Ohio 45202. At
the final fairness hearing, the Court will consider whether the settlement is fair, reasonable, and adequate and, if so,
whether it should be granted final approval. The Court will hear objections to the settlement, if any. The Court may
make a decision at that time, postpone a decision, or continue the hearing.




                                  This is a notice of a settlement of     Snap Fitness CEF Settlement
                                        a class action lawsuit.           c/o JND Legal Administration
                                  This is not a notice of a lawsuit       P.O. Box 91246                                        Permit
                                             against you.                 Seattle, WA 98111                                    Info here

                                  If you paid a Snap Fitness Club
                                    Enhancement Fee in 2017 or
                                    2018, or were a Snap Fitness                  Bar Code To Be Placed Here
                                       member in Ohio before
                                    November 2017, you may be                 Postal Service: Please do not mark Barcode
                                    entitled to compensation as a
                                    result of the settlement of the                      ADDRESS SERVICE REQUESTED
                                   class action lawsuit captioned:
Front Outside
                                    Dwyer v. Snap Fitness, Inc.                                      <<Name>>
                                   No. 1:17-cv-00455 (S.D. Ohio.)
                                                                                                     <<Address>>
                                   A federal court authorized this                                   <<City>>, <<State>> <<Zip>>
                                   notice. This is not a solicitation
                                           from a lawyer.

                                  Please read this notice carefully.
                                 It summarily explains your rights
                                   and options to participate in a
                                      class action settlement.




                                                                                                                              EXHIBIT A-2
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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO



 THOMAS DWYER, individually and on
 behalf of all others similarly situated,             CASE NO. 1:17-cv-00455-MRB

                                Plaintiff,

                     v.

 SNAP FITNESS, INC.,

                                Defendant.



                     This is a notice of a settlement of a class action lawsuit.
                           This is not a notice of a lawsuit against you.

If you are or have been a Snap Fitness member and (1) you paid a Club Enhancement Fee
(“CEF”) under a Snap Fitness membership agreement that did not mention payment of
the CEF, and/or (2) have been a party to a pre-November 2017 Snap Fitness prepaid
membership agreement in the state of Ohio and either (i) canceled your membership
between May 25, 2015, and the present (“Class Period”) while operating under that
agreement, or (ii) remain a current Snap Fitness member under that agreement, you are a
member of the Settlement Class (“Class” or “Class Member”) and can get a payment from
a class action settlement (the “Settlement”).


   THIS NOTICE MAY AFFECT YOUR RIGHTS. PLEASE READ IT CAREFULLY.

    •    On [DATE], 2019, the Hon. Michael R. Barrett of the United States District Court for
         the Southern District of Ohio (the “Court”) preliminarily approved the Settlement and
         ordered that notice be sent to Class Members of their legal rights and options to
         participate in this Settlement.

    •    A federal court has authorized this Notice. This is not a solicitation from a lawyer. Please
         read this Notice carefully and completely.




US.121687842.05                                                                          EXHIBIT A-3
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            YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT:

                                        If you are a Class Member and you do nothing, you
                                        will receive a payment from this Settlement but will
          DO NOTHING                    give up your rights to sue Snap Fitness for claims
                                        related to this case.

                                        If you are a Class Member and you exclude yourself
     EXCLUDE YOURSELF                   from the Settlement, you will not receive a share of the
       NO LATER THAN                    Settlement Fund and you will not give up your right to
        _______ __, 2019                sue Snap Fitness for claims related to this case.

                                        If you are a Class Member, you may write to the Court
   OBJECT NO LATER THAN                 about why you do not like the Settlement, but only if
       _______ __, 2019                 you have not excluded yourself from the Class.

     GO TO A HEARING ON                 If you are a Class Member, you may speak in Court
        _______ __, 2019                about the fairness of the Settlement.



                                           INQUIRIES
Please do not contact the Court regarding this notice. All inquiries concerning this Notice, the
Proof of Claim, or any other questions by Class Members should be directed to:
 Settlement Administrator:                             One or Both Class Counsel:
 Snap Fitness CEF Settlement                           Bryce A. Lenox
 c/o JND Legal Administration                          The Law Office of Bryce A. Lenox,
 P.O. Box 91246                                        Esq. LLC
 Seattle, WA 98111                                     3825 Edwards Road, Suite 103
 info@SnapFitnessCEFSettlement.com                     Cincinnati, Ohio 45209
 1-833-291-1645                                 or     bryce@brycelenoxlaw.com

                                                       Brian T. Giles
                                                       The Law Office of Brian T. Giles, LLC
                                                       1470 Apple Hill Rd.
                                                       Cincinnati, Ohio 45230
                                                       brian@gilesfirm.com




Questions? Visit www.SnapFitnessCEFSettlement.com or call toll-free at 1-833-291-1645       Page 2
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         COMMON QUESTIONS AND ANSWERS CONCERNING THE SETTLEMENT

    1.    Why did I get a notice?
Notice was sent via email or U.S. mail to individuals who, according to Defendant’s business
records, (1) paid one or more CEFs under a Snap Fitness membership agreement that did not
mention payment of the CEF; and/or (2) have been a party to a pre-November 2017 Snap Fitness
prepaid membership agreement in the state of Ohio and either (i) canceled the membership during
the Class Period while operating under that agreement, or (ii) remain a current Snap Fitness
member under that agreement.

    2.    What is this lawsuit about?
Thomas Dwyer filed this lawsuit against Defendant, alleging that Defendant violated the law by
(1) charging a CEF to members whose Snap Fitness membership agreements did not mention the
CEF and by (2) giving Snap Fitness members in Ohio insufficient notice of their cancellation rights
under Ohio’s Prepaid Entertainment Contract Act. Defendant denies that it violated the law. The
parties have agreed to a settlement. The Settlement resolves all the claims in the Action against
Defendant, as well as claims that could have been made in the Action against Defendant and
Defendant’s Releasees.1 By entering into the Settlement, Defendant is not admitting that it did
anything wrong.

    3.    Why is this a class action?
In a class action, one or more persons and/or entities, called the Class Representative(s), sue on
behalf of all persons and/or entities who have similar claims. All of these persons and/or entities
are referred to collectively as a Class, and these individual persons and/or entities are known as
Class Members. One court resolves all of the issues for all Class Members, except for those Class
Members who exclude themselves from the Class.
The Class Representative appointed by the Court in the Action is Thomas Dwyer. The Class
Representative is asking the Court to award him a service award of $3,500 for serving as Class
Representative.

    4.    Why is there a Settlement?
The Class Representative and the Defendant do not agree regarding the merits of the Complaint’s
allegations. This matter has not gone to trial and the Court has not decided in favor of either the
Class Representative or the Defendant. Instead, the Class Representative and the Defendant have
agreed to settle the Action. The Class Representative and Class Counsel believe the Settlement is
best for all Class Members because of the risks associated with continued litigation and the nature
of the defenses raised by the Defendant. Even if the Class Representative were to win at trial, the
Defendant could file an appeal whose outcome would be uncertain and could affect the
collectability of any judgment previously obtained.




1This notice incorporates by reference the definitions in the Settlement Agreement (the “Settlement”) dated as of
February 1, 2019, and all capitalized terms used, but not defined herein, shall have the same meanings as in the
Settlement. The Settlement is posted on the Claims Administrator’s website at www.SnapFitnessCEFSettlement.com.

Questions? Visit www.SnapFitnessCEFSettlement.com or call toll-free at 1-833-291-1645                    Page 3
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 5.   How do I know if I am part of the Settlement?
You are a Class Member if you (1) paid a CEF under a Snap Fitness membership agreement
that did not mention payment of the CEF (the “CEF Class”), and/or (2) have been a party to a
pre-November 2017 Snap Fitness prepaid membership agreement in the state of Ohio and either
(i) canceled your membership between May 25, 2015, and the present (“Class Period”) while
operating under that agreement, or (ii) remain a current Snap Fitness member under that
agreement (the “PECA Class”).

 6.   What does the Settlement provide?

(a)    What is the Settlement Fund?
       The proposed Settlement calls for Defendant to create a Settlement Fund in the amount of
       $2,920,000. The Settlement is subject to Court approval. A portion of the Settlement Fund
       will be used to pay taxes due on any interest earned by the Settlement Fund, if necessary.
       After any such deduction from the Settlement Fund, the amount remaining is for
       distribution to Class Members, with no reversion of those funds back to the Defendant.
(b)    What can you expect to receive under the proposed Settlement?
       The amount you will receive depends on whether you are a member of the CEF Class, a
       member of the PECA Class, or a member of both Classes.
       •   Class Members in the CEF Class will receive a payment based on a percentage of the
           total amount they paid in CEFs. Based on Defendant’s records, the Claims
           Administrator estimates you might receive approximately 65% of the amount you paid
           in CEFs. Your share of the Settlement Fund will depend on the number of Class
           Members who exclude themselves from the Class.
       •   Class Members in the PECA Class will receive $5.00.
       •   Individuals who are Class Members in both the CEF Class and the PECA Class are
           eligible to receive both payments identified above.

 7.   How will I receive a settlement payment?
If you are a Class Member and do not exclude yourself from the Class, and if the Court grants final
approval of the Settlement, you will receive a settlement payment in the form of a check mailed to
your address at a future date. However, if you move from your current address, you will need to
notify the Claims Administrator in writing and include your new address in order for the settlement
payment to reach you. The Claims Administrator should be notified at:
                                  Snap Fitness CEF Settlement
                                  c/o JND Legal Administration
                                         P.O. Box 91246
                                        Seattle, WA 98111
                              info@SnapFitnessCEFSettlement.com




Questions? Visit www.SnapFitnessCEFSettlement.com or call toll-free at 1-833-291-1645       Page 4
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 8.    What am I giving up to get a payment or stay in the Class?
If you are a Class Member, you will remain in the Class unless you exclude yourself. That
means that if the Settlement is approved, you and all Class Members will release (agreeing
never to sue, continue to sue, or be part of any other lawsuit) the Released Claims against the
Defendant’s Releasees.
The Defendant’s Releasees are Snap Fitness, Inc., and its past and present parents, subsidiaries,
franchisees, and affiliated corporations, limited liability companies, partnerships, and other
entities, the predecessors and successors in interest of any of them, and all of their respective past
and present officers, directors, shareholders, employees, agents, members, partners,
representatives, attorneys, insurers, and assigns, in their capacities as such.
The Released Claims are any and all claims, actions, causes of action, rights or liabilities, whether
arising out of federal, state, foreign, or common law, including Unknown Claims, of any Class
Member, which exist or may exist against any of the Defendant’s Releasees by reason of any
matter, event, cause, or thing that were or could have been alleged based on the facts,
circumstances, transactions, events, occurrences, acts, omissions, or failures to act alleged, or
which Plaintiff requested leave to allege, in the Action. Released Claims do not include any claims
relating to the enforcement of the Settlement or any claims of any person or entity who
Successfully Opts Out of the Settlement.
If you are a Class Member and you do not exclude yourself from the Class, you are agreeing to
give up your rights to the Released Claims, which will bar you from ever filing a lawsuit against
the Defendant or any of the Defendant’s Releasees for the matters covered by the Released Claims.
That means you will accept a share in the Settlement Fund, whether or not you claim it, as sole
compensation from the Defendant or the Defendant’s Releasees for any losses you have suffered
for the matters covered by the Released Claims.
Further detail and information about what you are agreeing to give up is detailed in the Settlement,
which is available at www.SnapFitnessCEFSettlement.com.

 9.    How do I get out of the Settlement?
If you are a Class Member and want to keep any right you may have to sue or continue to sue the
Defendant or the Defendant’s Releasees for the matters covered by the Released Claims, then you
must take steps to get out of the Settlement. This is called excluding yourself from—or “opting
out” of—the Settlement. If you ask to be excluded, you will not receive a settlement payment, and
you cannot object to the Settlement. If you ask to be excluded in conformity with this notice, you
will not be legally bound by anything that happens in this Action.
To exclude yourself from the Settlement, you must send a written request to the Claims
Administrator at the address below, postmarked no later than _____ __, 2019:
                                   Snap Fitness CEF Settlement
                               c/o JND Legal Administration
                                         P.O. Box 91246
                                       Seattle, WA 98111
Exclusion requests must: (i) be signed by the person in the Settlement Class who is requesting
exclusion; (ii) include the full name and address of the person in the Settlement Class requesting
exclusion; and (iii) include the following statement: “I/we request to be excluded from the
settlement in the Snap Fitness CEF action.” No request for exclusion will be valid unless all of


Questions? Visit www.SnapFitnessCEFSettlement.com or call toll-free at 1-833-291-1645          Page 5
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the information described above is included, and a member of the Settlement Class may opt out
on an individual basis only.

 10.   If I do not exclude myself, can I sue the Defendant for the same thing later?
No. If you are a Class Member, unless you exclude yourself, you give up any right to sue the
Defendant or the Defendant’s Releasees for the Released Claims. If you have a pending lawsuit,
speak to your lawyer in that case immediately, since you may have to exclude yourself from this
Class to continue your own lawsuit.

 11.   Do I have a lawyer in this case?
The Court has appointed Bryce A. Lenox, at The Law Office of Bryce A. Lenox, Esq. LLC, and
Brian T. Giles, at The Law Office of Brian T. Giles, as Class Counsel to represent the Class
Members for the purposes of this Settlement. You have the option to retain your own separate
counsel at your own cost and expense. You need not retain your own separate counsel to exclude
yourself from the Settlement, object, or appear at the Fairness Hearing.

 12.   How will the lawyers be paid?
Class Counsel have expended considerable time litigating this Action on a contingent fee basis,
have paid for the expenses of the Action themselves, and have not been paid any attorneys’ fees
in advance of this Settlement. Class Counsel have done so with the expectation that if they are
successful in recovering money for the Class, they will receive attorneys’ fees and be reimbursed
for their Litigation Expenses.
Class Counsel will file a motion asking the Court to award attorneys’ fees, reasonable Litigation
Expenses, and a service award to the Class Representative in a collective amount of no more than
$350,000. Defendant has agreed to pay any amount awarded by the Court up to $350,000
separately from the Settlement Fund, and an award of $350,000 or less will not affect the amount
that any Class Member receives. The Court may award less than $350,000.

 13.   How do I tell the Court that I do not like the Settlement?
You can tell the Court that you do not agree with all or any part of the Settlement or Class
Counsel’s motion for attorneys’ fees and Litigation Expenses, or any service awards to the Class
Representative, and that you think the Court should not approve the Settlement, by mailing a letter
stating that you object to the Settlement in the matter of Dwyer v. Snap Fitness, Inc., Case No.
1:17-cv-00455-MRB. In the written objection, you must state your full name, address, a telephone
number at which you currently can be reached, the reasons for your objection, the number of
objections you have made in other class-action cases, identifying the specific cases, and whether
you intend to appear at the Fairness Hearing on your own behalf or through counsel. Any
documents supporting the objection must also be attached to the objection. Be sure to mail the
objection to the address listed below, postmarked no later than _________ __, 2019, so the Court
will consider your views:
                                       Office of the Clerk
                                 Potter Stewart U.S. Courthouse
                                           Room 103
                                      100 East Fifth Street
                                     Cincinnati, Ohio 45202

Questions? Visit www.SnapFitnessCEFSettlement.com or call toll-free at 1-833-291-1645       Page 6
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 14.   What is the difference between objecting and opting out?
Objecting is simply telling the Court you do not like something about the Settlement. You can
object only if you stay in the Class. Opting out of—or requesting exclusion from—the Settlement
is telling the Court you do not want to be part of the Class or the Settlement. If you exclude
yourself, you cannot object to the Settlement because it no longer concerns you. If you stay in the
Class and object, but your objection is overruled, you will not be allowed a second opportunity to
exclude yourself and you will be bound by any order issued by the Court.

 15.   When and where will the Court decide whether to approve the Settlement?
The Court will hold a Fairness Hearing on __________, 2019 at ____ _.m. before The Honorable
Michael R. Barrett, United States District Judge for the Southern District of Ohio, Potter Stewart
U.S. Courthouse, 100 East Fifth Street, Cincinnati, Ohio 45202.
At this hearing, the Court will consider whether the Settlement is fair, reasonable, and adequate
and whether to approve the Settlement. If there are objections, the Court will consider them, and
the Court will listen to people who have asked to speak at the hearing. The Court may also decide
how much to award Class Counsel for attorneys’ fees and Litigation Expenses, and whether to
make service awards to the Class Representative.
If you wish to attend the Fairness Hearing and be heard orally in opposition to the Settlement, the
application for attorneys’ fees and Litigation Expenses, and/or the request for payment of service
awards to the Class Representative, you must indicate in your written objection, submitted as
described in response to Question No. 13, that you intend to appear at the Fairness Hearing. Your
written objection must identify any witnesses you may call to testify or exhibits you intend to
introduce into evidence at the Fairness Hearing.

 16.   Do I have to come to the Fairness Hearing?
No. Class Counsel will answer any questions the Court may have. You are, however, welcome
to attend at your own expense. If you send an objection, you do not have to come to Court to talk
about it. As long as you mail your written objection and it is received on time, the Court will
consider it.

 17.   What happens if I do nothing at all?
If you do nothing and the Court approves the Settlement, you will receive a payment from the
Settlement Fund.


  18. How do I get more information about this case?
This Notice summarizes the proposed Settlement. More details are in the Settlement Agreement
with the Court. You may examine the Court’s file in the Clerk’s Office at the United States
District Court for the Southern District of Ohio Potter Stewart U.S. Courthouse, 100 East Fifth
Street, Cincinnati, Ohio 45202, for more complete information about the details of the lawsuit
and the proposed settlement. You may also visit the Settlement Website at
www.SnapFitnessCEFSettlement.com, where the Settlement Agreement is posted, or call toll-


Questions? Visit www.SnapFitnessCEFSettlement.com or call toll-free at 1-833-291-1645       Page 7
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free at 1-833-291-1645. Relevant case filings will be added to the Settlement Website as the
Settlement proceedings continue.




Questions? Visit www.SnapFitnessCEFSettlement.com or call toll-free at 1-833-291-1645      Page 8
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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION


 THOMAS DWYER, et al.,                             : CASE NO. 1:17-cv-00455-MRB
                                                   :
 Individually and On Behalf of All Others          :
 Similarly Situated,                               :
                                                   : (Judge Michael R. Barrett)
                           Plaintiff,              :
                                                   :
 v.                                                :
                                                   :
 SNAP FITNESS, INC.,                               :
                                                   :
                           Defendants.             :


       [PROPOSED] ORDER GRANTING FINAL APPROVAL OF CLASS ACTION
                             SETTLEMENT


       WHEREAS, the above-titled putative class action is pending before the Court; and

       WHEREAS, Plaintiff Thomas Dwyer, on behalf of himself and the Settlement Class in

the litigation, and Defendant Snap Fitness, Inc. (“Defendant” or “Snap Fitness”), have entered into

the Class Action Settlement Agreement and Release dated February 1, 2019 (“Agreement”), which

was preliminarily approved by this Court as fair, adequate, and reasonable pursuant to Rule 23 of

the Federal Rules of Civil Procedure on _______________________ [ECF No. __] and which,

together with the exhibits thereto, sets forth the terms and conditions for the proposed Settlement of

the Litigation and the dismissal of the Litigation with prejudice; and

       WHEREAS, notice of the Settlement was provided to Class Members in accord with the

Court’s Order Preliminarily Approving Settlement by a Notice electronically mailed to all Class

Members for whom Defendant’s records reflected a valid email address and a Postcard Notice to all

other Class Members; and



                                                                                           EXHIBIT B
                                                  1
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       WHEREAS, a notice of Settlement was mailed to government officials as described in 28

U.S.C. § 1715; and

       WHEREAS, the Court having conducted a Fairness Hearing on ____________________,

2019, in Courtroom ____ at the United States District Court for the Southern District of Ohio,

Potter Stewart U.S. Courthouse, 100 East Fifth Street, Cincinnati, Ohio 45202; and

       WHEREAS, based on the foregoing, having considered the papers filed and proceedings

held in connection with the Settlement, having considered all of the other files, records, and

proceedings in the Action and being otherwise fully advised,

       NOW, THEREFORE, the Court hereby FINDS, CONCLUDES, AND ORDERS:

       1.       This Court has jurisdiction over the subject matter of the Action and over all

Parties to the Action, including all Class Members.

       2.       This Order incorporates the definitions in the Settlement Agreement, and all terms

used in the Order have the same meanings as set forth in the Settlement Agreement, unless

otherwise defined herein.

       3.       Pursuant to Fed. R. Civ. P. 23(b)(3), the Court affirms its certification, solely for

purposes of effectuating and finalizing the Settlement, of the following Settlement Class:

       (a) persons who have paid a Club Enhancement Fee under a Snap Fitness
       membership agreement that did not mention payment of the Club Enhancement
       Fee (the “CEF Sub-Class”);

       (b) persons who have been a party to a pre-November 2017 Snap Fitness prepaid
       membership agreement in the state of Ohio and who either (i) canceled their
       membership during the Class Period while operating under that agreement, or (ii)
       remain current Snap Fitness members under that agreement (the “PECA Sub-
       Class”). For purposes of this definition, “canceled” shall mean a termination of
       membership in which the member did not transfer to another form of Snap Fitness
       membership within two days, as reflected in Defendant’s business records.

       Excluded from the Class are Defendant and its officers and directors; Class
       Counsel and their partners, associates, lawyers, and employees; and the judicial
       officers and their immediate family members and associated Court staff assigned
       to this case.


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       4.        Defendant complied with the notice requirements in the Class Action Fairness

Act, 28 U.S.C. § 1715. The Court’s docket shows that no Attorney General objected to the

Settlement Agreement or otherwise attempted to intervene or participate in the Action or the

Fairness Hearing following receipt of the Class Action Fairness Act notice.

        5.       The Court affirms the appointment of Plaintiff Thomas Dwyer as the Class

 Representative of the Settlement Class and finds that the Class Representative has fairly and

 adequately represented the interests of Class Members in connection with the Settlement.

        6.       The Court affirms the appointment of Bryce A. Lenox of The Law Office of

 Bryce A. Lenox, Esq. LLC and Brian T. Giles of The Law Office of Brian Giles LLC as Class

 Counsel for the Class.

        7.       The persons who have Successfully Opted Out of the Class are identified in

 Exhibit 1 attached hereto (“Excluded Persons”).

        8.       The Class Representative and the Class Members, and all and each of them, are

 hereby bound by the terms of the Settlement set forth in the Settlement Agreement. Excluded

 Persons are no longer parties to this Action and are not bound by the Settlement embodied in the

 Settlement Agreement.

        9.       The Settlement set forth in the Settlement Agreement (i) is in all respects fair,

 reasonable, and adequate to the Class, (ii) was the product of informed, arm’s-length negotiations

 among competent, able counsel, and (iii) was made based upon a record that is sufficiently

 developed and complete to have enabled the Class Representative and Defendant to adequately

 evaluate and consider their positions.

        10.      The terms of the Agreement, and the Settlement provided for therein, are finally

 approved as fair, reasonable, and adequate and as being in the best interests of the Settlement

 Class. The Court therefore authorizes and directs implementation of all terms and provisions of



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the Settlement Agreement, including, but not limited to, the timely honoring of all valid claims

submitted by Class Members.

       11.      The Notice given to the Class in accord with the Order Preliminarily Approving

Settlement was the best notice practicable under the circumstances and constituted sufficient

notice to all persons entitled thereto. The form, content, and distribution of the Email Notice,

Postcard Notice, and Long-Form Notice, satisfy the requirements of Rule 23 of the Federal Rules

of Civil Procedure, due process, and all other applicable law and rules.

       12.      Judgment shall be, and hereby is, entered dismissing the Action with prejudice,

on the merits, and without taxation of costs in favor of or against any Party.

       13.      The Class Representative and all Class Members, on behalf of themselves, and

their respective heirs, executors, administrators, predecessors, successors, assigns, and insurers,

in their capacities as such, are hereby conclusively deemed to have fully, finally, and forever

compromised, settled, released, resolved, relinquished, waived, and discharged Defendant Snap

Fitness, Inc., and its past and present parents, subsidiaries, franchisees, and affiliated

corporations, limited liability companies, partnerships, and other entities, the predecessors and

successors in interest of any of them, and all of their respective past and present officers,

directors, shareholders, employees, agents, members, partners, representatives, attorneys,

insurers, and assigns, in their capacities as such, from any and all claims, actions, causes of

action, rights or liabilities, whether arising out of federal, state, foreign, or common law,

including Unknown Claims, which exist or may exist against any of the Defendant’s Releasees

by reason of any matter, event, cause, or thing that were or could have been alleged based on the

facts, circumstances, transactions, events, occurrences, acts, omissions, or failures to act alleged,

or which Plaintiff requested leave to allege, in the Action (the “Released Claims”).




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       14.      The Class Representative and all Class Members are hereby barred and

permanently enjoined from instituting, asserting, or prosecuting any or all of the Released

Claims against any of the Defendant’s Releasees.

       15.      The Court hereby decrees that neither the Settlement Agreement nor this Order

nor the fact of the Settlement is an admission or concession by Defendant or Defendant’s

Releasees of any fault, wrongdoing, or liability whatsoever, or as an admission of the

appropriateness of class certification for trial or dispositive motion practice. This Order is not a

finding of the validity or invalidity of any of the claims asserted or defenses raised in the Action.

Nothing relating to the Settlement shall be offered or received in evidence as an admission,

concession, presumption, or inference against Defendant or Defendant’s Releasees in any

proceeding, other than such proceedings as may be necessary to consummate or enforce the

Settlement or to support a defense based on principles of res judicata, collateral estoppel, release,

good-faith settlement, judgment bar or reduction, or any other theory of claim preclusion or issue

preclusion or similar defense.

       16.      The Court awards a collective amount of $___________ for Class Counsel’s

Litigation Expenses, including attorneys’ fees, and a service award to the Class Representative.

       17.      The Court hereby retains jurisdiction over the implementation, administration,

interpretation, and enforcement of this Settlement.

       18.      There being no just reason for delay, the Clerk of Court is hereby directed to

enter final judgment pursuant to Rule 54(b) of the Federal Rules of Civil Procedure.

       19.     If the judgment does not become final in accord with Section 11.01 of the

Settlement Agreement, then the final judgment shall be rendered null and void to the extent

provided by and in accord with the Settlement Agreement, and this Order shall be vacated. In

such event, all orders entered and releases delivered in connection with the Settlement shall be



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null and void. In such event, the Action shall return to its status immediately prior to execution

of the Settlement.



Dated:
                                                    Judge Michael R. Barrett
                                                    United States District Judge




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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION (CINCINNATI)

THOMAS DWYER                                    :       Case No. 1:17-cv-00455-MRB
                                                :
Individually and on behalf of all others        :       Judge Michael R. Barrett
similarly situated                              :
                                                :
               Plaintiff,                       :       [PROPOSED] ORDER GRANTING
                                                :       PRELIMINARY APPROVAL OF CLASS
        vs.                                     :       ACTION SETTLEMENT
                                                :
SNAP FITNESS, INC.                              :
                                                :
                                                :
               Defendant.                       :
                                                :

        This matter comes before the Court on Plaintiff Thomas Dwyer’s (“Dwyer”) unopposed

Motion for Preliminary Approval of Class Action Settlement (“Motion”). The Court has

reviewed the Motion and the Settlement Agreement and Release dated February 1, 2019

(“Agreement”)1 entered into by Plaintiff with Snap Fitness, Inc. (collectively, “Defendant” or

“Snap Fitness”), and attached exhibits, and finds that the Motion should be GRANTED.

        NOW, THEREFORE, the Court hereby FINDS, CONCLUDES AND ORDERS:

        1.     The Court does hereby preliminarily and conditionally approve, for settlement

purposes only, the following Settlement Class pursuant to Rules 23(a) and 23(b)(3) of the

Federal Rules of Civil Procedure:

        All persons within the United States who fall into either or both of the following sub-

classes: (a) persons who have paid a Club Enhancement Fee under a Snap Fitness membership

agreement that did not mention payment of the Club Enhancement Fee (the “CEF Sub-Class”);


1	All
    capitalized terms used in this Order shall have the same meanings as set forth in the
Agreement.

                                                    1


                                                                                         EXHIBIT C
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and (b) persons who have been a party to a pre-November 2017 Snap Fitness prepaid

membership agreement in the state of Ohio and who either (i) canceled2 their membership during

the Class Period while operating under that agreement, or (ii) remain current Snap Fitness

members under that agreement (the “PECA Sub-Class”).

        Excluded from the Class are Defendant and its officers and directors; Class Counsel and

their partners, associates, lawyers, and employees; the judicial officers and their immediate

family members and associated Court staff assigned to this case; and all persons who

Successfully Opt Out, as described in Section IX of the Agreement and as set forth in this Order.

        2.     For purposes of the Settlement only, the Court appoints named Plaintiff Thomas

Dwyer as the Class Representative of the Settlement Class.

        3.     For purposes of the Settlement, the Court appoints Bryce Lenox of the Law Office

of Bryce A. Lenox, Esq. LLC and Brian Giles of The Law Office of Brian Giles LLC as Class

Counsel. The Court authorizes Class Counsel to enter into the Settlement Agreement on behalf

of the Class Representative and the Class and to bind them all to the duties and obligations

contained therein, subject to final approval by the Court of the Settlement.

        4.     The Court does hereby preliminary approve the Settlement, including the notices

and the releases contained therein as being fair, reasonable, and adequate as to Class Members,

subject to further consideration at the fairness hearing described below.

        5.     A hearing (the “Fairness Hearing”) shall be held before the Court on

______________________ a.m./p.m. for the following purposes:




2	For purposes of the PECA Sub-Class, “canceled” shall mean a termination of membership in
which the member did not transfer to another form of Snap Fitness membership within two days,
as reflected in Defendant’s business records.	

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              a. To determine whether the proposed Settlement on the terms and conditions

provided for by the Agreement is fair, reasonable, and adequate to the Settlement Class and

should be approved by the Court;

              b. To determine whether a Final Approval Order, as defined in the Agreement,

should be entered;

              c. To determine whether the claims process under the Settlement is fair and

reasonable and should be approved by the Court;

              d. To determine whether Plaintiff’s application for attorneys’ fees and

reimbursement of expenses, and requested awards for incentive payments, should be approved;

and

              e. To rule upon such other matters as the Court may deem appropriate.

         6.      The Court approves, as to form and content, the various forms of Class Notice

attached to the Agreement. The Court finds and determines that the distribution of the Class

Notice by electronic mail, along with supplemental distribution of the Postcard Notice for those

for whom Defendant’s records do not contain a valid email address, meets the requirements of

Fed. R. Civ. P. 23 and due process, and is the best notice practicable under the circumstances,

and shall constitute due and sufficient notice to all persons entitled to notice.

         7.      The Complaint was commenced after February 18, 2005. The Court directs Snap

Fitness to notify the appropriate Federal and State officials under the Class Action Fairness Act

of 2005, 28 U.S.C. § 1715, and to ensure that proof of compliance is filed with the Court no later

than fourteen (14) days before the Fairness Hearing.

         8.      The firm of JND Legal Administration (“Claims Administrator”) is hereby

appointed, under the supervision of Class Counsel, to administer the notice procedure as well as

the processing of claims as more fully set forth below.
	                                                3
	
	
	
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               a. No later than sixty (60) days after the date of this Order (the “Settlement Notice

Date”), the Claims Administrator will (i) send the Email Notice by electronic mail, to the most

recent email address as reflected in Defendant’s reasonably available computerized account

records, to all persons in the Settlement Class for whom such records exist; (ii) send the Postcard

Notice by first class mail, to the most recent mailing address as reflected in Defendant’s

computerized account records, for those Class Members for whom Defendant does not have an

email address (as reflected in reasonably available computerized account records) or whose

emails are undeliverable, as determined by the Claims Administrator; and (iii) cause the Long-

Form Notice, substantially in the form attached to the Settlement Agreement, to be posted on the

Settlement Website, along with other relevant court documents and settlement information.

               b. No later than fourteen (14) days prior to the Final Approval Hearing, the Claims

Administrator will file with the Court and serve on counsel for all Parties a declaration stating

that the Class Notice required by the Agreement has been completed in accordance with the

terms of this Order.

         9.       All Class Members shall be bound by all determinations and judgments in the

class action concerning the Settlement, including, but not limited to, the releases provided for in

the Agreement, whether favorable or unfavorable, except those who timely and validly requested

exclusion from the Class and have not opted back in.

         10.      Persons in the Settlement Class may request exclusion from the Settlement, and

thereby Successfully Opt Out, by sending a written request to the Claims Administrator at the

address designated in the Class Notice no later than sixty (60) days after the Settlement Notice

Date (the “Opt-Out Deadline”).

               a. Exclusion requests must: (i) be signed by the person in the Settlement Class who

is requesting exclusion; (ii) include the full name and address of the person in the Settlement
	                                                 4
	
	
	
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Class requesting exclusion; and (iii) include the following statement: “I/we request to be

excluded from the settlement in the Snap Fitness CEF action.” No request for exclusion will be

valid unless all of the information described above is included.

               b. No person in the Settlement Class, or any person acting on behalf of or in concert

or participation with that person in the Settlement Class, may exclude any other person from the

Settlement Class. A member of the Settlement Class may opt out on an individual basis only.

“Mass” or “class” opt-outs, whether submitted by third parties on behalf of a “mass” or “class”

of class members or multiple class members, where no personal statement has been signed by

each individual Class Member, are not allowed.

               c. Any member of the Settlement Class who Successfully Opts Out pursuant to this

Order will not be a Settlement Class Member and will not be bound by the terms of this

Agreement.

         11.      Pending final determination of whether the Agreement should be approved, Class

Counsel, Plaintiff, and Class Members are barred and enjoined from commencing or prosecuting

any action asserting any Released Claims against Snap Fitness.

         12.      Upon entry of the Court’s Final Judgment Order, the Class Representative and all

Class Members shall be permanently enjoined and barred from asserting any claims against

Defendant and Defendant’s Releasees arising from the Released Claims, and the Class

Representative and all Class Members conclusively shall be deemed to have fully, finally, and

forever released any and all such Released Claims.

         13.      No later than fourteen (14) days after the Opt-Out Deadline, Class Counsel will

apply to the Court for an award of Litigation Expenses to be paid separately by Defendant, as

well as a service award to the Class Representative for his representation of the Class, also to be


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separately paid by Defendant. All of the above, including any service award to the Class

Representative, is the “Fee and Expense Application.”

         14.   No later than fourteen (14) days prior to the Final Approval Hearing, Plaintiff will

file any and all memoranda in support of final approval, and Class Counsel and/or Defendant

may file a memorandum addressing any objections submitted to the Settlement.

         15.   Any Settlement Class Member who objects may appear at the Fairness Hearing,

either in person or through an attorney hired at the Settlement Class Member’s expense, to object

to the fairness, reasonableness, or adequacy of this Agreement or the Settlement. Any Settlement

Class Member who intends to object to the fairness of this Settlement must file a written

objection with the Court on or before the Opt-Out Deadline. In the written objection, the

Settlement Class Member must state his or her full name, address, a telephone number at which

he or she currently can be reached, the reasons for his or her objection, the number of objections

he or she has made in other class-action cases, identifying the specific cases, and whether he or

she intends to appear at the Fairness Hearing on his or her own behalf or through counsel. Any

documents supporting the objection must also be attached to the objection. The Parties will have

the right to depose any objector to assess whether the objector has standing.

         16.   Any person who does not make his or her objection in the manner provided in this

Order shall be deemed to have waived such objection and shall forever be foreclosed from

making any objection to the fairness or adequacy of the proposed Settlement as set forth in the

Agreement, unless otherwise ordered by the Court.

         17.   This Order, the Agreement, and the Settlement, and any of their terms, and all

negotiations, discussions, and proceedings in connection with this Order, the Agreement, and the

Settlement, shall not constitute evidence, or an admission by Snap Fitness, that any acts of

wrongdoing have been committed and shall not be deemed to create any inference that there is
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any liability on the part of Snap Fitness. This Order, the Agreement, and the Settlement and any

of their terms, and all negotiations, discussions and proceedings in connection with this Order,

the Agreement, and the Settlement shall not be offered or received in evidence or used for any

purpose in this or any other proceeding in any court, administrative agency, arbitration tribunal,

or other forum of any kind or character in the United States or any other country except as

necessary to enforce the terms of this Order or the Settlement.

         18.   The Court reserves the right to adjourn the date of the Fairness Hearing without

further notice to the Settlement Class Members and retains jurisdiction to consider all further

applications or matters arising out of or connected with the proposed Settlement. The Court may

approve the Settlement, with such modifications as may be agreed to by the Plaintiff and Snap

Fitness, if appropriate, without further notice to the Class.


                                                       SO ORDERED:



                                                       Honorable Michael R. Barrett
                                                       United States District Judge




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